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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


ADRIENNE L. CURRY,                         )
                                           )
      Plaintiff,                           )
                                           )
vs.                                        )   Civil Action Number
                                           )    2:17-cv-00041-AKK
ROBERT WILKIE, UNITED                      )
STATES SECRETARY OF                        )
VETERANS AFFAIRS,                          )

      Defendant.

                          MEMORANDUM OPINION

      Adrienne Curry alleges that her employer, the United States Department of

Veterans Affairs (“VA”), unlawfully retaliated against her in violation of Title VII

of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq., by denying her four

nursing positions in 2012. Docs. 1 at 2-4; 27. The court has for consideration the

VA’s motion for summary judgment, which is fully briefed and ripe for

consideration. Docs. 16, 27, 28. After reading the briefs, viewing the evidence,

and considering the relevant law, the court finds that Curry has failed to establish a

prima facie case or to rebut the articulated reasons for the selection decisions at

issue. The VA’s motion is therefore due to be granted.




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   I.     LEGAL STANDARD FOR SUMMARY JUDGMENT

        Under Rule 56(a) of the Federal Rules of Civil Procedure, summary

judgment is proper “if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56. “Rule 56[] mandates the entry of summary judgment, after adequate

time for discovery and upon motion, against a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and

on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett,

477 U.S. 317, 322 (1986) (alteration in original).

        The moving party bears the initial burden of proving the absence of a

genuine issue of material fact. Id. at 323. The burden then shifts to the nonmoving

party, who is required to “go beyond the pleadings” to establish that there is a

“genuine issue for trial.” Id. at 324 (internal quotations omitted). A dispute about a

material fact is genuine “if the evidence is such that a reasonable jury could return

a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986).

        At summary judgment, the court must construe the evidence and all

reasonable inferences arising from it in the light most favorable to the non-moving

party. Adickes v. S. H. Kress & Co., 398 U.S. 144, 157 (1970); see also Anderson,

477 U.S. at 255. Any factual disputes will be resolved in the non-moving party’s


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favor when sufficient competent evidence supports the non-moving party’s version

of the disputed facts. See Pace v. Capobianco, 283 F.3d 1275, 1276, 1278 (11th

Cir. 2002). However, “mere conclusions and unsupported factual allegations are

legally insufficient to defeat a summary judgment motion.” Ellis v. England, 432

F.3d 1321, 1326 (11th Cir. 2005) (per curiam) (citing Bald Mountain Park, Ltd. v.

Oliver, 863 F.2d 1560, 1563 (11th Cir. 1989)). Moreover, “[a] mere ‘scintilla’ of

evidence supporting the opposing party’s position will not suffice; there must be

enough of a showing that the jury could reasonably find for that party.” Walker v.

Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson, 477 U.S. at 252)).

   II.      FACTUAL BACKGROUND

         Curry is a long term employee of the VA. Doc. 18-12 at 1-4. Curry has had

various issues that resulted in her filing lawsuits and EEOC complaints against the

VA. For example, in January 2009, Curry filed a lawsuit in this court alleging

harassment and retaliation. Curry v. United States Dep’t of Veterans Affairs et al,

No. 2:09-cv-2441-AKK, ECF No. 1. Then, in January 2010, Curry filed an EEOC

complaint against the VA, alleging disability discrimination and retaliation. Doc.

18-11 at 1-2.

         Next, in September 2011, Curry filed an EEOC complaint, alleging that the

VA had denied her applications for twenty-three Registered Nurse (RN) positions

on the basis of her disability and in retaliation for her prior EEOC activity. Id. at 1-


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2. 1 Roughly six months later, Curry filed another lawsuit in this court alleging

disability discrimination and retaliation. Curry v. Wilkie, No. 2:12-cv-608-SLB,

ECF. No. 1.

      Relevant to this action, in July 2012, Curry filed another EEOC complaint,

alleging that the VA had denied her applications for five RN positions on the basis

of her disability and in retaliation for her prior EEOC activity. Doc. 17-1 at 4.2

Basically, and relevant here, from about February or March through May 2012,

Curry applied and interviewed for the positions of RN Dialysis Unit, RN Safe

Harbor/Palliative Care Unit, and RN-6B Medical Surgical Unit (two positions).

Docs. 17-1 at 4; 18-13 at 2; 18-14 at 2; 18-15 at 2. By this time, Curry, who had

never been employed as a nurse or RN, had qualified as a RN, had a master’s

degree in nursing, and had gained clinical nursing experience as a nursing student.

Docs. 19-1 at 4, 21; 19-3 at 2, 4. In this lawsuit, Curry maintains that she is more

qualified than the individuals selected for these four positions. Doc. 27 at 3-7.

      For the RN Dialysis position, Cynthia Frazier was the selecting official who

made the initial hiring recommendation. Doc. 18-13 at 2-3. This position had non-

mandatory “enhanced qualifications” of dialysis experience and two years of


      1
         Although she initially mentioned these positions in this lawsuit, Curry has
abandoned these claims. See doc. 27 at 3, 9.
       2
         Curry initially challenged all five positions even though the VA had
selected her for the RN-5 Main Medical Surgical Unit position and she had started
working in this position before she filed her EEOC complaint. Doc. 19-2 at 11-12.
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successful RN medical surgical critical care practice. Docs. 19-3 at 4; 18-13 at 3.

Frazier testified that she also considered previous dialysis experience as a licensed

practical nurse or technician. Doc. 18-13 at 3. Frazier recommended and ultimately

selected Alexis Ray over Curry because Ray “worked in the critical care unit at

another facility from 2007 until time of selection where she did receive experience

in continuous renal replacement therapy or dialysis.” Id. Frazier also cited Ray’s

certification in Advanced Cardiac Life Support as a reason for Ray’s selection. Id.

       For the RN Safe Harbor/Palliative Care position, Kimberly Froelich was the

selecting official who made the initial recommendation. This position had

“enhanced qualifications” of one year of successful ambulatory surgery, medical

surgical, critical care, or palliative care experience. Doc. 19-3 at 4. Froelich

recommended and ultimately selected Michelle Walker due to Walker’s clinical

experience as a licensed practical nurse for “about 10, 15 years.” Doc. 18-14 at 3;

see doc. 28-2 at 2. Froelich further testified that it was important that the successful

candidate have “clinical expertise” and “basic experience in clinical assessment

tools” because the position required leading non-RN staff. Doc. 18-14 at 3-4.

      For the RN-6B Medical Surgical positions, the selecting official Clement

Wilson recommended and ultimately selected Donna Miller and Lorraine Bester

for these two positions. Doc. 18-15 at 2-3. These positions did not differ

significantly from the RN-5 Main Medical Surgical position for which Curry was


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ultimately selected. Doc. 19-2 at 17, 18. Wilson explained that he chose Miller and

Bester over Curry because Miller and Bester “scored high on the performance

based-interview tool, and both persons had prior nursing experience. [Curry] had

never worked as a registered nurse since she left school.” Doc. 18-15 at 3.

      Gregory Eagerton, the Associate Director for Patient Care Service and the

Nurse Executive, approved the recommendations for each of the four positions.

Doc. 18-17 at 3. Eagerton did not interview Curry or any of the candidates for the

positions prior to his decisions. Id.

      After unsuccessfully challenging these four selections in her 2012 EEOC

complaint, Curry filed this lawsuit, alleging that the VA unlawfully retaliated

against her in violation of Title VII by denying her these four positions. Doc. 1. 3

   III.    ANALYSIS

      Title VII makes it unlawful “to discriminate against any individual with

respect to [her] compensation, terms, conditions, or privileges of employment,

because of such individual’s race, color, religion, sex, or national origin.” 42

U.S.C. § 2000e-2. Title VII also has a retaliation provision that creates a cause of

action for employees who are discriminated against for “opposing any practice”




      3
       Curry initially also raised claims under 42 U.S.C. §1981 and 42 U.S.C.
§1983. However, she conceded these claims in her response to the motion for
summary judgment. See doc. 27 at 1.
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that they have a good faith belief to be unlawful. 42 U.S.C. § 2000e-3; Meeks v.

Computer Assocs. Int’l, 15 F.3d 1013, 1021 (11th Cir. 1994).

       Where the evidence of retaliation is entirely circumstantial, the burden of

proof shifts between the plaintiff and defendant according to the McDonnell

Douglas Corp. framework. Furcron v. Mail Centers Plus, LLC, 843 F.3d 1295,

1310 (11th Cir. 2016) (citing McDonnell Douglas Corp. v. Green, 411 U.S. 792

(1972)). Initially, the plaintiff has the burden to establish a prima facie case by

showing: (1) that she engaged in statutorily protected expression; (2) that she

suffered an adverse employment action; and (3) that the adverse employment

action would not have occurred but for the protected activity. Univ. of Texas Sw.

Med. Ctr. v. Nassar, 570 U.S. 338, 360 (2013). If the plaintiff establishes a prima

facie case, the burden shifts to the defendant to “proffer a legitimate, non-

discriminatory reason for the adverse employment action,” but this burden is

“exceedingly light.” Meeks v. Computer Assocs. Int’l, 15 F.3d 1013, 1021 (11th

Cir. 1994) (quoting Tipton v. Canadian Imperial Bank of Commerce, 872 F.2d

1491, 1495 (11th Cir. 1989)). If the defendant does so, “[t]he plaintiff must then

demonstrate that the employer’s proffered explanations are a pretext for

retaliation.” Id.




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       A. Curry’s Prima Facie Case

      The VA contends that Curry cannot establish the requisite causal link

between her statutorily protected EEOC activity and lawsuits and the adverse

actions in 2012. Doc. 16 at 22-25. A plaintiff can prove causation through

“sufficient evidence that the decision-maker became aware of the protected

conduct, and that there was a close temporal proximity between this awareness and

the adverse . . . action.” Shotz v. City of Plantation, Fla., 344 F.3d 1161, 1180 n.30

(11th Cir. 2003). Where, as here, the only evidence of causation is temporal

proximity, the proximity “must be ‘very close.’” Thomas v. Cooper Lighting, Inc.,

506 F.3d 1361, 1364 (11th Cir. 2007) (quoting Clark County Sch. Dist. v. Breeden,

532 U.S. 268, 273 (2001)).

      Unfortunately for Curry, she has failed to make this showing. More

specifically, Curry filed her EEOC complaint in September 2011 and her lawsuit in

February 2012, and the selection decisions at issue occurred in May 2012. Docs.

18-13 at 2; 18-14 at 2; 18-15 at 2. Thus, at best, even assuming all the decision-

makers knew about her protected activities, 4 there is a three-month gap between




      4
       Only one of the decision makers, Wilson, admitted that he knew about
Curry’s EEOC complaints. Doc. 18-15 at 2. The others denied having such
knowledge. Doc. 18-13 at 2; 18-14 at 2; 18-17 at 3.

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the protected activity and the selection decisions. 5 Such a gap is insufficient under

Eleventh Circuit law to show temporal proximity. See Brown v. Ala. Dep’t of

Transp., 597 F.3d 1160, 1182 (11th Cir. 2010) (finding that “a three-month interval

between the protected expression and the employment action . . . is too long[]” to

sustain plaintiff’s retaliation claim); Thomas v. Cooper Lighting, Inc., 506 F.3d

1361, 1364 (11th Cir. 2007) (finding that a three-to-four month gap was

insufficient). Therefore, because Curry is relying solely on temporal proximity, her

prima facie case fails.

       B. Curry’s Rebuttal of the VA’s Proffered Reasons

      Alternatively, even if Curry can make a prima facie case, her claim fails

because no reasonable factfinder could conclude, based on the record, that the

VA’s proffered explanations for the selection decisions at issue are mere pretext

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         Curry contends that “there is no gap” between the VA’s adverse actions
and her protected activity because of her “ongoing participation” in the EEOC
process and her pending lawsuits against the VA. Doc. 27 at 8. However, temporal
proximity is calculated by reference to the date of a discrete action by the plaintiff
that is protected by Title VII, such as the date of filing an EEOC complaint. See,
e.g., Clark Cty. Sch. Dist. v. Breeden, 532 U.S. 268, 273 (2001) (calculating
temporal proximity by reference to the date of the plaintiff’s EEOC complaint, and
rejecting plaintiff’s “utterly implausible suggestion that the EEOC’s issuance of a
right-to-sue letter—an action in which the employee takes no part—is a protected
activity of the employee.” (emphasis in original)); Adams v. City of Montgomery,
569 F. App’x 769, 773 (11th Cir. 2014); Brown v. Huntsville City Bd. of Educ.,
324 F.R.D. 239, 251-52 (N.D. Ala. 2018). Curry’s allegation of “ongoing
participation,” without evidence of a specific protected activity beyond filing her
complaints, does not raise a genuine issue of material fact as to temporal
proximity. See doc. 27 at 8.

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for unlawful retaliation. To show pretext, the evidence produced “must reveal such

weaknesses, implausibilities, inconsistencies, incoherencies or contradictions in the

employer’s proffered legitimate reasons for its actions that a reasonable factfinder

could find them unworthy of credence.” See Furcron, 843 F.3d at 1313 (citation

omitted). The plaintiff “must meet each proffered reason ‘head on and rebut it, and

[she] cannot succeed by simply quarreling with the wisdom of that reason.” Id. at

1313-14 (quoting Chapman v. AI Transp., 229 F.3d 1012, 1030 (11th Cir. 2000)).

Curry’s unsupported, conclusory allegations that she was more qualified than each

of the selected candidates fail to raise an inference of pretext. See doc. 27 at 4-6;

Furcron, 843 F.3d at 1313 (“Conclusory allegations of discrimination, without

more, are not sufficient to raise an inference of pretext . . .” (citation omitted)).

      First, Curry contends that she was more qualified than the selected candidate

for the Dialysis position, Ray, claiming that Ray lacked dialysis experience. Doc.

27 at 5. However, Curry presents no evidence to support this contention, which is

directly contradicted by Frazier’s testimony. See doc. 18-13 at 3. Moreover,

Curry’s testimony that she did not know anything about the successful candidates

for the four positions, including whether they had nursing experience or were more

qualified than her, belies her contention that she is more qualified than Ray. Docs.

19-1 at 18; 19-2 at 10. Finally, Curry failed to address Frazier’s contention

regarding Ray’s professional experience in dialysis nursing, doc. 19-3 at 2, 4,


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which is another reason Frazier articulated for selecting Ray. See id. at 3. In light

of her failure to rebut each reason the VA articulated, Curry’s claim as to the

Dialysis position fails. See Combs v. Plantation Patterns, 106 F.3d 1519, 1538-44

(11th Cir. 1997) (finding that plaintiff failed to produce sufficient evidence to rebut

each of the defendant’s proffered reasons for declining to promote the plaintiff).

      Second, with respect to the Palliative Care position, Curry attempts to raise

an inference of pretext by alleging, “The record is devoid of any evidence that

Walker held a RN certification as required by the job announcement.” Doc. 27 at 6.

However, Curry cites no evidence to support this contention, see id., and Walker’s

written application in fact indicates that she was a RN and had been a licensed

practical nurse since at least 1991, see doc. 28-2 at 2. Moreover, Froelich testified

that she selected Walker because of her clinical nursing experience of “about 10,

15 years”, and the position required a RN with “clinical expertise” who could lead

support staff. Doc. 18-14 at 3-4. By contrast, Curry had not yet worked as a RN at

the time of her application. Doc. 19-3 at 2. In other words, Curry has failed to rebut

Froelich’s articulated reason, and her claim for this position also fails.

      Finally, Curry cannot point to any evidence that suggests that retaliatory

animus factored into the selections for the two 6B Medical Surgical positions.

Wilson testified that he recommended Miller and Bester for the two positions

because “[t]hey scored high on the performance-based interview tool, and both


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persons had prior nursing experience. [Curry] had never worked as a registered

nurse since she left school.” Doc. 18-15 at 3. There is no evidence that rebuts this

testimony. Therefore, in light of Curry’s failure to “meet each proffered reason

head on and rebut it,” Furcron, 843 F.3d at 1313 (quotation omitted), her claim for

these two positions also fails.

                                    CONCLUSION

      In sum, Curry has failed to show the requisite temporal proximity between

her protected activity and the adverse actions to establish a prima facie case.

Curry’s claim fails also because the VA has put forth sufficient, unrebutted

evidence to support its contention that each selected candidate was more qualified

than Curry. Thus, the VA has met its burden of showing that there is no genuine

issue of material fact and that it is entitled to judgment as a matter of law. The

court will issue a separate order consistent with this opinion.

      DONE the 15th day of October, 2018.


                                        _________________________________
                                                   ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE




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